      Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 1 of 21




                             United States District Court
                            Southern District of New York

Virginia L. Giuffre,

               Plaintiff,                           Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/




                PLAINTIFF’S REPLY IN SUPPORT OF MOTION
           TO COMPEL ALL WORK PRODUCT AND ATTORNEY-CLIENT
                 COMMUNICATIONS WITH PHILIP BARDEN




                                        Sigrid McCawley
                                        BOIES, SCHILLER & FLEXNER LLP
                                        401 E. Las Olas Blvd., Suite 1200
                                        Ft. Lauderdale, FL 33301
                                        (954) 356-0011
         Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 2 of 21




                                                  TABLE OF CONTENTS
                                                                                                                                      Page

TABLE OF AUTHORITIES .......................................................................................................... ii

PRELIMINARY STATEMENT .................................................................................................... 1

ARGUMENT.................................................................................................................................. 3

I.       DEFENDANT HAS FAILED TO PRODUCE RESPONSIVE DISCOVERY
         MATERIALS BASED ON ASSERTIONS OF ATTORNEY-CLIENT PRIVILEGE.......3

II.      MS. GIUFFRE HAS NOT FAILED TO CONFER. ............................................................5

III.     DEFENDANT HAS WAIVED WORK PRODUCT PROTECTIONS AND
         ATTORNEY-CLIENT PRIVILEGE OVER HER COMMUNICATIONS WITH
         BARDEN. ............................................................................................................................7

          A.         Defendant Admitted that She Waived Work Product Privilege with Barden......... 7

          B.         Defendant Also Waived Attorney-Client Privilege. ............................................... 8

                     1.         Defendant Waived Attorney-Client Privilege by Placing
                                Communications with Her Attorney at Issue...............................................8

                     2.         Defendant Also Waived Attorney Client Privilege by Willfully Failing
                                to Include Communications on Her Privilege Log, therefore Forfeiting
                                Any Potential Privilege. .............................................................................12

CONCLUSION............................................................................................................................. 15

CERTIFICATE OF SERVICE ..................................................................................................... 17




                                                                     i
         Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 3 of 21




                                               TABLE OF AUTHORITIES

                                                                                                                                   Page
Cases

Baron Philippe de Rothschild v. Paramount Distillers, Inc.,
  No. 87 Civ. 6820, 1995 WL 86476 (S.D.N.Y. March 1, 1995)................................................ 14

Coleco Indus., Inc. v. Universal City Studios, Inc.,
  110 F.R.D. 688 (S.D.N.Y.1986) ............................................................................................... 11

Granite Partners, L.P. v. Bear Stearns & Co. Inc.,
  184 F.R.D. 49 (S.D.N.Y.1999) ................................................................................................. 11

Guiffre v. Maxwell,
  2016 WL 1756918 (S.D.N.Y. 2016)........................................................................................... 9

Hickman v. Taylor,
  329 U.S. 495 (1947).................................................................................................................. 12

In re Air Crash at Belle Harbor, New York on November 12, 2001,
   241 F.R.D. 202 (S.D.N.Y. 2007) .............................................................................................. 14

In re Pioneer Hi-Bred Intl. Inc.,
   238 F.3d 1370 (Fed. Cir. 2001)................................................................................................. 10

In re Refco Inc. Securities Litigation,
   2012 WL 678139 (S.D.N.Y. 2012)............................................................................................. 8

In re Subpoena Duces Tecum,
   99 F.R.D. 582 (D.D.C. 1983).................................................................................................... 11

Kleiman ex rel. Kleiman v. Jay Peak, Inc.,
  2012 WL 2498872 (D. Vt. 2012)................................................................................................ 8

Leybold-Heraeus Technologies, Inc. v. Midwest Instrument Co., Inc.,
  118 F.R.D. 609 (E.D. Wis. 1987) ............................................................................................. 10

Liz Claiborne, Inc. v. Mademoiselle Knitwear, Inc.,
  1996 WL 668862 (S.D.N.Y. 1996)........................................................................................... 14

Norton v. Town of Islip,
  2015 WL 5542543 (E.D.N.Y. 2015)......................................................................................... 11

S.E.C. v. Gupta,
  281 F.R.D. 169 (S.D.N.Y. 2012) ................................................................................................ 8



                                                                    ii
         Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 4 of 21




Strougo v. BEA Associates,
   199 F.R.D. 515 (S.D.N.Y. 2001) .............................................................................................. 14

von Bulow v. von Bulow,
  114 F.R.D. 71 (S.D.N.Y. 1987) .................................................................................................. 9

Rules

Fed. R. Civ. P. 26(b)(5)................................................................................................................. 14

Fed. R. Civ. P. 37(a)(1)................................................................................................................... 5

Fed. R. Civ. P. 37(a)(3)................................................................................................................... 6

Other Authorities

ABA Model Rules of Professional Conduct Rule 1.6(a)................................................................ 9




                                                                     iii
       Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 5 of 21




        Plaintiff, Virginia Giuffre, hereby files this Reply in Support of her Motion to Compel

Work Product and Attorney Client Communications with Philip Barden and states as follows.

                               PRELIMINARY STATEMENT

        Defendant does not seriously contest that her attorney, Philip Barden, has explicitly and

implicitly disclosed communications with her. Instead, she argues that “absent a client’s consent

or waiver, the publication of confidential communications by an attorney does not constitute a

relinquishment of the privilege by the client.” Defendant’s Response to “Motion to Compel”

Work Product and Attorney-Client Communications with Philip Barden at 8 (hereinafter

“Response”). Defendant then maintains that because Barden stated in his Declaration that he was

not authorized to waive any privilege, this bars the Court from finding any waiver of attorney-

client privilege.

        But Defendant cannot have her cake and eat it too. She has placed Barden’s declaration

into evidence in this case in support of her pending-summary judgment motion. It is thus not

Barden who has waived attorney-client privilege in his declaration, but it is Defendant herself,

acting through her attorneys in this very case, who waived privilege.

        Defendant’s publication of Barden’s Declaration reveals communications that would

otherwise be protected by the attorney-client privilege. For example, consider the following

statements found in Barden’s Declaration (emphases added):

       !       In liaison with Mr. Gow and my client, on January 2, 2015, I prepared a further
statement denying the allegations, and I instructed Mr. Gow to transmit it via email to members
of the British media who had made inquiry about plaintiff’s allegations about Ms. Maxwell.
Schultz Decl., Exh. 2, Barden Declaration, at 2 ¶ 10;

        !       I did not ask Ms. Maxwell to respond point by point to Ms. Giuffre’s factual
allegations in the CVRA joinder motion. What we needed to do was issue an immediate denial
and that necessarily had to be short and to the point. Id. at 3 ¶ 13;




                                                1
      Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 6 of 21




       !        In this sense, the statement was very much intended as a cease and desist letter to
the media-recipients, letting the media-recipients understand the seriousness with which Ms.
Maxwell considered the publication of plaintiff’s obviously false allegations and the legal
indefensibility of their own conduct. Id. at 4 ¶ 17;

        !       Consistent with those two purposes, Mr. Gow’s emails prefaced the statement
with the following language: “Please find attached a quotable statement on behalf of Ms.
Maxwell” (italics supplied). The statement was intended to be a single, one-time-only,
comprehensive response—quoted in full, if it was to be used—to plaintiff’s December 30, 2014,
allegations that would give the media Ms. Maxwell’s response. Id. at 5 ¶ 19;

        !      I directed that the statement indicate Ms. Maxwell “strongly denie[d] the
allegations of an unsavoury nature,” declare the allegations to be false, give the press-recipients
notice that the publications of the allegations “are defamatory,” and inform them that Ms.
Maxwell was “reserv[ing] her right to seek redress.” Id. at 7 ¶ 30.

       Lest there be any doubt as to the source of this information, Barden specifically added

that the source was “entirely” his client – the Defendant: “The content of the statement was

entirely based on information I acquired in connection with my role as counsel for Ms.

Maxwell.” Id. at 7 ¶ 30.

       Defendant then doubled down on the waiver by relying very specifically on these

communications in her (currently-pending) summary judgment motion. Here again, some

highlight will serve to illustrate the point (internal citations to Barden Declaration omitted and

emphasis added):

       !       Consistent with Mr. Barden’s purposes for the statement, Mr. Gow’s emails
prefaced the statement with the following language: “Please find attached a quotable statement
on behalf of Ms. Maxwell” (emphasis supplied). Summary Judgment Motion at 25;

        !      After plaintiff filed the CVRA motion, some thirty reporters contacted Ms.
Maxwell’s press representative, Mr. Gow, for Ms. Maxwell’s response. As Ms. Maxwell’s
lawyer, Mr. Barden undertook that task. Relying on his knowledge of the 2011 articles
publishing plaintiff’s allegations and drawing on his experience and training as a lawyer, Mr.
Barden crafted a response with the goal of discrediting plaintiff and what the statement called
plaintiff’s new” allegations. Summary Judgment Motion at 27;

       !      By January 2015 Ms. Maxwell had retained British Solicitor Philip Barden to
represent and advise her in connection with plaintiff’s publication in the British press of


                                                2
      Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 7 of 21




salacious, defamatory allegations of criminal sexual abuse during the period 1999-2002.
Summary Judgment Motion at 35;

        !        Second, Mr. Barden intended the January 2015 statement to be “a shot across the
bow” of the media, which he believed had been unduly eager to publish plaintiff’s allegations
without conducting any inquiry of their own. This was the purpose of repeatedly stating that
plaintiff’s allegations were “defamatory.” The statement was intended as a cease and desist letter
to the media-recipients, letting the media-recipients understand the seriousness with which Ms.
Maxwell considered the publication of plaintiff’s obviously false allegations and the legal
indefensibility of their own conduct. Summary Judgment Motion at 35-36; and

       !       At the time Mr. Barden directed the issuance of the statement, he was
contemplating litigation against the media-recipients as an additional means to mitigate and
prevent harm to Ms. Maxwell. Toward this end, he prepared the statement so that it made clear
Ms. Maxwell “strongly denie[d] the allegations of an unsavoury nature,” declared the
republications of the allegations to be false, gave the press-recipients notice that the
republications of the allegations “are defamatory,” and informed them that Ms. Maxwell was
“reserv[ing] her right to seek redress.” Summary Judgment Motion at 35-36.

       Based on Defendant’s disclosures, both in the Barden Declaration and in Defendant’s

Summary Judgment papers, Ms. Giuffre is entitled to have the Court compel production of

communications and documents related to these disclosures. Some of those documents are

specifically identified in the privilege logs prepared by Defendant, while Defendant has withheld

other documents and communications. Defendant provides no good reason why she should not

be compelled to produce that information, along with her attorney for a deposition. Accordingly,

the motion to compel should be granted.

                                          ARGUMENT

I.     DEFENDANT HAS FAILED TO PRODUCE RESPONSIVE DISCOVERY
       MATERIALS BASED ON ASSERTIONS OF ATTORNEY-CLIENT PRIVILEGE.

       In her motion, Ms. Giuffre explained that she sought production of communications

between Defendant and her attorney, Philip Barden, which “Defendant listed on her privilege

log.” Plaintiff’s Motion to Compel All Work Product and Attorney Client Communications with

Philip Barden at 2 (hereinafter “Mot.”). Ms. Giuffre also sought deposition on these


                                                3
         Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 8 of 21




communications and related subjects. Id. Ms. Giuffre also attached, as Exhibit 1 to her motion, a

list of documents over which Defendant had waived privilege. Id. & Ex. 1.

         In response, Defendant initially makes the implausible argument that no communications

by Barden have been withheld based on any assertion of attorney-client privilege or work

product protection. To the contrary, Defendant boldly asserts the position that there is “no

unsatisfied request for production” that would warrant granting Ms. Giuffre’s motion to compel.

Response at 7. This is a remarkable argument, since Defendant has obviously withheld

production documents identified based on attorney-client privilege, as Exhibit 1 to the Schultz

Declaration to Ms. Giuffre’s motion clearly establishes. Presumably the reason Defendant has

raised privilege with Barden is that documents exist that are responsive to Ms. Giuffre’s request

for production.

         Numerous discovery requests in this case cover Barden documents. More obviously, Ms.

Giuffre asked for all documents concerning statements concerning Ms. Giuffre made on behalf

of Defendant by “any . . . individual”:

         Produce all documents concerning any statement made by You or on Your behalf
         to the press or any other group or individual, including draft statements,
         concerning Ms. Giuffre, by You, Ross Gow, or any other individual, from 2005 to
         the present, including the dates of any publications, and if published online, the
         Uniform Resource Identifier (URL) address.1

         In addition, Ms. Giuffre asked for all documents concerning Ms. Giuffre distributed by

Defendant or her “agents”:

         Produce all documents concerning which individuals or entities You or Your
         agents distributed or sent any statements concerning Ms. Giuffre referenced in
         Request No. 18 made by You or on Your behalf.2




1
    Request No. 17 form Plaintiff’s Second Request for Production.
2
    Request No. 18 from Plaintiff’s Second Request for Production.
                                                 4
      Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 9 of 21




       There are other requests to which Barden documents are responsive, including:

      !      Document Request No. 17: All documents relating to communications with you
and Ross Gow from 2005–Present;

       !      Document Request No. 36: All documents you rely upon to establish that (a)
Giuffre’s sworn allegations “against Ghislaine Maxwell are untrue.”; (b) the allegations have
been “shown to be untrue.”; and (c) Giuffre’s “claims are obvious lies.”;

        !       Document Request No. 8: Produce any documents concerning any of Your, or
Your attorneys or agent’s, communications with Jeffrey Epstein’s attorneys or agents from 1999
to the present relating to the issue of sexual abuse of females, or any documents concerning any
of Your, Your attorneys or agent’s, communications with Jeffrey Epstein’s attorneys or agents
from 1999 to the present relating to the recruitment of any female under the age of 18 for any
purpose, including socializing or performing any type of work or services; and

        !       Document Request No. 12: Produce all documents concerning Virginia Giuffre
(a/k/a Virginia Roberts), whether or not they reference her by name. This request includes, but is
not limited to, all communications, diaries, journals, calendars, blog posts (whether published or
not), notes (handwritten or not), memoranda, mobile phone agreements, wire transfer receipts, or
any other document that concerns Plaintiff in any way, whether or not they reference her by
name.

       Defendant is clearly withholding Barden documents that are responsive to Ms. Giuffre’s

discovery requests.

II.    MS. GIUFFRE HAS NOT FAILED TO CONFER.

       During discovery, rather than contend that there were no Barden documents responsive to

these requests, Defendant asserted attorney-client privilege. Thus, this is not a case where a party

has simply failed to make discovery – something that a simple conferral might resolve. Cf. Fed.

R. Civ. P. 37(a)(1) (requiring certification of conferral with a party “failing to make disclosure”).

Instead, this is a case in which Defendant has made a disclosure – i.e., a privilege log asserting

privilege over various documents. While that assertion may have been appropriate earlier in this

case, when during summary judgment briefing and argument Defendant reversed course and

made Barden’s legal strategy, plans, advice, mental impressions, and work product the keystone




                                                 5
      Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 10 of 21




of her argument, things changed. Ms. Giuffre is entitled to present those changed circumstances


-
to the Court.

       In an effort to deflect attention from the merits of attorney-client issues, Defendant raises

the procedural argument that somehow Ms. Giuffre has failed to provide an appropriate

certificate of conferral. Resp. at 6. Yet, as Defendant concedes, Ms. Giuffre provided a

certificate, explaining that she raised this very issue during the Court’s recent oral argument on

the summary judgment motion. See Resp. at 6 (citing Ms. Giuffre’s “Certificate of Conferral”

found in Mot. at 12). Of course, Defendant took the position at that time that no further

production was required – a position that she continues to maintain in her current briefing. In

claiming that Ms. Giuffre has somehow failed to confer, Defendant does not suggest that any

conferral would have narrowed the disputed issues before the Court. Ms. Giuffre believes

Defendant has waived privilege; Defendant simply disagrees.

       Defendant also cites provisions in Fed. R. Civ. P. 37(a)(3) and Local Civil Rule 37.1

concerning identifying the discovery materials in dispute. Defendant claims that the documents

at issue in this motion to compel have not been identified with sufficient precision. Defendant,

however, fails to address Exhibit 1 to the Schultz Declaration to Ms. Giuffre’s motion – which

attached three privilege logs from Defendant, all of which specifically identified by Bates

number Barden documents which Defendant had chosen to withhold based on attorney-client

issues. It is hard to understand how Ms. Giuffre’s motion could have been more precise with

regard to these communications. And, as discussed below, there appear to be a number of

additional communications with Barden that Defendant has deliberately failed to include on her

privilege log. Here again, those communications has been specifically identified.




                                                6
       Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 11 of 21




III.      DEFENDANT HAS WAIVED WORK PRODUCT PROTECTIONS AND
          ATTORNEY-CLIENT PRIVILEGE OVER HER COMMUNICATIONS WITH
          BARDEN.

          Now that Defendant has put forth Barden’s legal strategy plans, advice, and work product

as her primary defense in this action, case law dictates that not only has she waived work product

doctrine protection over Barden’s work product documents, but she has also waived attorney-

client privilege. Accordingly, the Court should compel Defendant to produce communications

with Barden and require him to sit for deposition concerning those communications.

          A.     Defendant Admitted that She Waived Work Product Privilege with Barden.

          Defendant’s response brief is silent on the fact that Defendant admitted to this Court that

her “Barden Declaration” constitutes a waiver of the work product doctrine. As this Court will

recall from Defendant’s reply in support of her motion for summary judgment, Defendant

directly acknowledges work product waiver:

          His intent and purposes are by definition not attorney-client communications and
          do not implicate such communications; they are attorney work product, which he
          is free to disclose.

          Defendant’s Reply in Support of Motion for Summary Judgment at 11. Accordingly,

Defendant has admitted that she waived her work product privilege with regard to Barden’s

alleged legal strategy, “intent,” and the like. The documents Barden created and considered

(including drafts) should be produced, because their protection has been waived, as Defendant


-
admits.

          Until Defendant filed her motion for summary judgment along with the Barden affidavit,

Barden’s work product and legal advice were protected from disclosure. However, in her

attorney’s efforts to fall on the proverbial sword and attempt to convince the court that it was

Defendant’s attorney, not Defendant, who issued the defamatory press release, (a press release

that she explicitly approved and directed her press agent to publish), Barden set forth his legal

                                                   7
      Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 12 of 21




strategy. His various “plans” and his various “intents” are his legal strategy. And, case law

clearly recognizes legal strategy is work product – therefore, it is waived. See Kleiman ex rel.

Kleiman v. Jay Peak, Inc., 2012 WL 2498872, at *2 (D. Vt. 2012) (“Opinion work product

includes such items as an attorney's legal strategy”) (internal citations omitted); In re Refco Inc.

Securities Litigation, 2012 WL 678139, at *3 (S.D.N.Y. 2012) (“plaintiffs cannot invoke the

work product doctrine, as plaintiffs' attorneys shared their legal strategy with a non-party”). Cf.

S.E.C. v. Gupta, 281 F.R.D. 169, 173 (S.D.N.Y. 2012) (“When an attorney discloses work

product . . . [and] there has been a deliberate, affirmative and selective use of work product that

waives the privilege. Therefore, [the waiving party] waived any work product protection they

had over legal strategy . . .”) (emphasis added).

       Barden’s Declaration revealed his intentions on how he was to render legal representation

of Defendant. In short, he revealed his legal strategy. Legal strategy is work product, as defined

both by logic and by the cases above. Accordingly, when a party reveals legal strategy, she has

waived privilege under the work product doctrine. And, a lengthy “Declaration,” detailing

Barden’s legal strategy, put forth in a last ditch attempt to defeat the claim against Defendant,

most certainly waives any work product protections that may have applied. Accordingly, this

Court should direct Defendant to produce all work product related to Barden’s representation of

her and direct Barden to sit for a deposition in New York.

       B.      Defendant Also Waived Attorney-Client Privilege.

               1.      Defendant Waived Attorney-Client         Privilege            by    Placing
                       Communications with Her Attorney at Issue.

       Earlier in this case, Defendant claimed attorney-client privilege over her email

communications with Barden. And earlier in this case, this Court upheld that assertion of

privilege. That attorney-client privilege only applies to attorney-client communications


                                                    8
      Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 13 of 21




“primarily or predominately of a legal character.” Guiffre v. Maxwell, 2016 WL 1756918, at *5

(S.D.N.Y. 2016) (Sweet, J.). Accordingly, it stands to reason that Barden gave legal advice to

Defendant regarding matters that are responsive to Plaintiff’s requests for production because

this Court allowed Defendant to withhold such responsive documents from production.

       Now Defendant has waived that attorney-client protection. In her opening motion, Ms.

Giuffre gave one illustration of that waiver. In his declaration, Ms. Barden explains specifically

what he communicated to Defendant: “I did not ask Ms. Maxwell to respond point by point to

Ms. Giuffre’s factual allegations in the CVRA joinder motion. What we needed to do was issue

an immediate denial and that necessarily had to be short and to the point.” Resp. at 8 (citing DE

542-7, Ex. K ¶ 13.

       Defendant first argues that, in providing this one illustration, Ms. Giuffre’s argument was

somehow “disingenuous[]” because she did not take the time to specifically list other

illustrations. Resp. at 8. Given Defendant’s suggestion that no other illustrations exist, the Court

should be aware of the following other, parallel examples of waiver, some of which are

recounted above, in an individualized, bullet point listing from both the Barden Declaration and

the later Summary Judgment Motion.

       Defendant also argues that such examples cannot serve to waive Defendant’s privilege.

But an attorney has implied authority to assert or waive the privilege on the client’s behalf in the

course of legal representation. See ABA Model Rules of Professional Conduct Rule 1.6(a)

(lawyer has authority to reveal confidential information when the disclosure is “impliedly

authorized in order to carry out the representation”). If the client fails to object to disclosure of

privilege information by the attorney, the client impliedly consents. See von Bulow v. von Bulow,

114 F.R.D. 71, 76 (S.D.N.Y. 1987) (privilege waived where client encouraged lawyer to write a



                                                 9
      Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 14 of 21




book about legal representation and reveal other confidences on television program), modified,

828 F.2d 94 (2d Cir. 1987). Here, the communications are being revealed not accidentally but

rather as part of a deliberate legal strategy on behalf of the Defendant in an effort to obtain

summary judgment. It is Defendant’s attorneys in this very case who have placed the Barden

Declaration into evidence and later moved for summary judgment. And, of course, Defendant

has not made any effort to withdraw that Declaration, even after the attorney-client waiver issue

was raised at oral argument during the summary judgment hearing and later through the filing of


-
this motion.

       In these circumstances, the privilege has obviously been waived. See In re Pioneer Hi-

Bred Intl. Inc., 238 F.3d 1370, 1376 (Fed. Cir. 2001) (counsel for party may be deposed by

opposing party as fact witness without waiving attorney-client privilege, but privilege is waived

if counsel discloses privileged matters); Leybold-Heraeus Technologies, Inc. v. Midwest

Instrument Co., Inc., 118 F.R.D. 609, 614 (E.D. Wis. 1987) (where attorney took stand, privilege

waived for information necessary to cross-examine attorney).

       To be sure, parts of Barden’s Declaration appear to have been cleverly written in an

attempt obscure the fact that he is revealing attorney-client communications. But just as using the

words “plan” and “intent” as a coy proxy for the phrase “legal strategy” does not render that

“plan” or “intent” something other than legal strategy, swapping the word “intended” for

“advised” and does not change the fact that Barden’s “intentions” were rendered as legal advice

to his client. To the extent that any of Barden’s communications with Defendant revealed his

legal strategy work product (which the Court can easily determine based on its previous in

camera review), the disclosures in the Barden Declaration waive the privilege over those




                                                10
      Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 15 of 21




communications as well. Moreover, “legal strategies [also] fall within the attorney-client

privilege.” Norton v. Town of Islip, 2015 WL 5542543, at *1 (E.D.N.Y. 2015).

       Perhaps recognizing that his declaration was, in fact, waiving attorney-client, privilege,

Barden included in his declaration the statement: “I am not authorized to and do not waive Ms.

Maxwell’s attorney-client privilege.” Schultz Dec. Exhibit 1, Barden Declaration, at 1 ¶ 3. But

whatever the effect of this statement at the time Barden signed his declaration, it clearly had no

effect when Defendant, through her attorneys in this case, chose to place the Declaration into

evidence. At that time, disclosure of confidential communications, and thus waiver, took place.

See, e.g., In re Subpoena Duces Tecum, 99 F.R.D. 582, 584-86 (D.C. 1983) (disclosing party

waived privilege even though it stated in transmittal letter to SEC that it did not waive privilege

by submission of information), aff’d, 738 F.2d 1367, 1370 (D.C. Cir. 1984).

       As Defendant makes no claim that Barden’s legal strategies were not communicated to

her in his rendering of legal advice to her, she has waived privilege over those communications.

Therefore, because Defendant has revealed her attorney’s legal strategies, plans, and intentions –

strategies he communicated to her in giving her legal advice – she has waived attorney-client

privilege. Accordingly, the Court should require Defendant to produce all of her communications

with Barden and direct Defendant to have Barden sit for a deposition in New York.

       As articulated in the moving brief, it is well settled that waiver may be imposed when the

privilege-holder has attempted to use the privilege as both “sword” and “shield.” Granite

Partners, L.P. v. Bear Stearns & Co. Inc., 184 F.R.D. 49, 54 (S.D.N.Y. 1999) (Sweet, J.); see

also Coleco Indus., Inc. v. Universal City Studios, Inc., 110 F.R.D. 688, 691 (S.D.N.Y. 1986)

(Sweet, J.). Here, Defendant has made her attorney’s advice and legal strategies the keystone of

her motion for summary judgment. Her decision ends any privilege that previously protected her



                                                11
      Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 16 of 21




communications with Barden. Indeed, when a party voluntarily waives its work product privilege

in an attempt to use her attorney’s work product to her advantage, the party must also produce all

related documents, including drafts, e-mail communications relating to the work product,

documents considered relating to the work product and any other materials created, received,

used or considered relating in any way to Ms. Giuffre or this litigation, which is the very subject-

matter of the disclosed work-product. See, e.g., Hickman v. Taylor, 329 U.S. 495, 511 (1947).

The Court should accordingly order disclosure of all related communications here.

               2.      Defendant Also Waived Attorney Client Privilege by Willfully Failing
                       to Include Communications on Her Privilege Log, therefore Forfeiting
                       Any Potential Privilege.

       Defendant also waived her attorney-client privilege for a separate, independent reason:

she failed to properly log communications on her privilege log.

       A bit of factual background is necessary on this point. In both her earlier (rejected)

Motion to Dismiss and her pending Motion for Summary Judgment, Defendant asserted that the

qualified pre-litigation privilege shields her defamatory press release from liability. Specifically,

Defendant has argued that because she was contemplating an (unspecified and never-filed)

lawsuit involving the British Press, she somehow had a “green light” to make whatever

defamatory statements she wanted about Ms. Giuffre at the time she issued her press release, i.e.,

on January 3, 2015.

       Of course, if Defendant actually contemplated litigation prior to and on January 3, 2015,

at the time she issued the defamatory press release, and if Barden was actually as involved in

that process as Defendant claims, where are the communications with Barden concerning this

contemplated lawsuit that pre-date the issuance of the press release? Put another way, if there

was a good-faith anticipated litigation (as the law requires for this defense to apply), and

Defendant was working with Barden to issue a statement in relation to that good-faith anticipated
                                                 12
               Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 17 of 21




litigation, why are there no communications among Defendant and Barden until after Defendant

issued the statement? They are certainly not in her privilege log.3

                  The Court should be aware that, in all three of Defendant’s various iterations of her

privilege log, there is no entry for any communication with Barden prior to January 10, 2015 – a

week after Defendant issued the defamatory press release. See Composite Exhibit 2, Defendant’s

three privilege logs.

                                                                                                   Unlled S11111es Dl:strl(:1 Cou.-1
                                                                                              For The ou1.b e.- 11 Din r ic t or _",;' e" Yor k

                                                                                                           Giuffre,•. Mw,.-~·,dl
                                                                                                              15-<,•-074J 3-RW
                                                                                 Ghlslafoe .'\1a1,." t ll' s Prh'ileilt Log A mended as of ~lay 16, 20 16

    *** Pt r Lou l Ru ~ 26.2. 1.be fo llow int prh'll~es a r e asst rttd 1,ursua.01 lo British la" , Colorado la w • nd NY la w.

                                                                                                                                              cc
       LoeID             DATE            DOC.
                                        T\'PE            ,
                                                      BATES               FROM                                  TO                                   RELATIONSHIP
                                                                                                                                                      OF PARTI ES
                                                                                                                                                                               SUBJECT
                                                                                                                                                                               )IATTER
                                                                                                                                                                                                            PRIVILEGE

          I.         20 11.03 .15      E•M3ils        1000-      Gbisl3in~ Mas:\\.1~11       Brenhffi::. E q.                                       Anoru~y I Cliern      Conminnication            Atl()rney-Clien~
                                                     1013                                                                                                                 re: l~al advice
          J,         20 11 .03.15      E•Mails       JOI <!-     Drim faffe. Esq.            Ghislaine ~i aJCwtll                                   Ano rney I Client     Com1'l'lun.ie.ltion       Anoro,ey.Client
                                                     10 19                                                                                                                re: I~ l advi~
          J.         20 15.01.02       E•Mails       1020-       RossGo\v                    Ghislaine M.u:\~ell                                    Anosn:.y Ageot /      Co mnru.nic.atioa         Anoroey..Clit:.nl
                                                     10!6                                                                                           Clienl                re: l,eg:il a<h'ice
          4.         20 15.01.0:!      E-Moil        1024-       Ghislaifie MJX\\t:ll        Ross Gow                                               Anon.1ey A~at /       Couu.11Wlieatioa          Attorney-Client
                                                     1026                                                                                           Cli\'.111             rt:: t~nt adV"ioe
          s.         20 15.01.02       E•Mail        10'.!7 -    RossGO\t•'                  Ghislaine :\faxweU                                     Ano.ru,,:.y Agenl I   Co n'I.Itl Lmitation      Anoruey•Clieru
                                                     1028                                                                                           Cli~t                 re: legt,I advice
          6.         20 15.01.06       E-Mail        1029        G.hisl3in< Maxwdl           Jeffrey Epskin                                         Common lntef\:".SI    Commun.ic-,uion           Common lnletd.l
                                                                                                                                                                          ~ lee:il advice.
          7.         20 15.01.06       E-Moil        1030-       Ghislain..:. Max\\ell       fo ilrey Epstein.                                      Anomey t Client       Comm Luric.ation          Common Interest
                                                     1043                                    Alan DerSbowitz. Esq.                                                        re:: legal 00,1'i(;._:.
          8.         20 15.01.10       E•Moil        1044        Gbisl3in~ Mas.w~u           Philip Bard~. Esq ..                                   Anom~y I Client       Comniunication            Anomey•ClieoL
                                                                                             Ross Gow                                                                     re: Jeeol ad\riCc
          9.         20 15.01.10       E,Moil        10~5.       Gb.islain(' Maxwell         Philip Borden. Esq.                                    Client / Anonxy       Comniunieation            Anomey-Client
                                                     1051                                                                                                                 r~: legal advi~



                  If Defendant was actually contemplating litigation with Barden in advance of issuing the

January 3, 2015 press release (as she repeatedly claims), then there must be email




3
  As the Court is aware, this is not the first time that Ms. Giuffre has found evidence of
documents that Defendant willfully withheld in violation of her discovery obligations. There is
evidence that Defendant failed to produce documents from email accounts she used during the
relevant period, and there are (important, responsive) documents, produced by a third party
(Gow), that are in Defendant’s possession that she both willfully failed to produce and denied the
existence of at her deposition. The pre-January 10, 2015 emails she had with Barden to discuss
her purported anticipation litigation are not produced and not logged, but this time, the evidence
of their existence comes from Defendant’s own argument about the pre-litigation privilege
applying to her January 3, 2015 press release. This Court has already ordered one adverse
inference jury instruction for Defendant’s willful discovery non-compliance, and, at this point,
Defendant’s continued willful discovery failures warrant a second adverse inference jury
instruction, pursuant to the renewed motion filed by Ms. Giuffre on March 3, 2017.
                                                                                                         13
      Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 18 of 21




communication that pre-date Defendant’s issuance of the statement – yet these communications

never appeared on any of Defendant’s privilege logs.

       Either Defendant wrongfully failed to log those communications in an attempt to

withhold them from this litigation (thus waiving any privilege over them), or all the claims she

and Barden make about any pre-litigation privilege are untrue. At any rate, it appears that

Defendant has withheld email communications with Barden from before January 10, 2015 –

withheld even from her privilege log.

       It is well settled law that when a party fails to log purportedly privileged

communications, that party waives any privilege. See In re Air Crash at Belle Harbor, New York

on November 12, 2001, 241 F.R.D. 202, 204 (S.D.N.Y. 2007) (Sweet, J.). (“Even if attorney-

client and work-product privileges had been established, the privileges would have been waived

due to Golan's failure to submit a privilege log in accordance with the requirements of Local

Rule”) (emphasis added); Strougo v. BEA Associates, 199 F.R.D. 515, 521 (S.D.N.Y. 2001)

(Sweet, J.) (“The failure to provide a timely privilege log or to describe the documents in

conformity with the Local Rules may result in a waiver of the privilege. See, e.g., Fed. R. Civ. P.

26(b)(5), Advisory Committee Notes (“To withhold materials without such notice is contrary to

the rule ... and may be viewed as a waiver of the privilege or protection.”)”); Liz Claiborne, Inc.

v. Mademoiselle Knitwear, Inc., 1996 WL 668862, at *4 (S.D.N.Y. 1996) (Sweet, J.), citing

Baron Philippe de Rothschild v. Paramount Distillers, Inc., No. 87 Civ. 6820, 1995 WL 86476 at

*1 (S.D.N.Y. March 1, 1995) (potential privilege waived by failure to produce privilege log

describing allegedly privileged documents).

       Accordingly, Defendant has waived attorney-client privilege by failing to log her

communications with Barden before January 10, 2015.



                                                14
     Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 19 of 21




                                        CONCLUSION

       Defendant has used her attorney’s legal strategy as her primary defense in this case;

accordingly, she has waived all privilege that may otherwise attach to communications with

Barden and his work product. Additionally, Defendant has failed to log all of her

communications with Barden, which also triggers waiver of any privilege over the email

communications she failed to log. The Court should direct Defendant to produce all of Barden’s

communications and work product (as defined in the moving brief), as such documents are

responsive to multiple discovery requests. In addition, the Court should direct Defendant to have

Barden sit for deposition in New York to answer questions about these communications.

       Dated: March 7, 2017

                                                    Respectfully Submitted,

                                                    BOIES, SCHILLER & FLEXNER LLP

                                               By: /s/ Meredith Schultz
                                                   Meredith Schultz (Pro Hac Vice)
                                                   Boies Schiller & Flexner LLP
                                                   401 E. Las Olas Blvd., Suite 1200
                                                   Ft. Lauderdale, FL 33301
                                                   (954) 356-0011

                                                    David Boies
                                                    Boies Schiller & Flexner LLP
                                                    333 Main Street
                                                    Armonk, NY 10504

                                                    Bradley J. Edwards (Pro Hac Vice)
                                                    FARMER, JAFFE, WEISSING,
                                                    EDWARDS, FISTOS & LEHRMAN, P.L.
                                                    425 North Andrews Avenue, Suite 2
                                                    Fort Lauderdale, Florida 33301
                                                    (954) 524-2820




                                               15
     Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 20 of 21




                                                    Paul G. Cassell (Pro Hac Vice)
                                                    S.J. Quinney College of Law
                                                    University of Utah
                                                    383 University St.
                                                    Salt Lake City,
                                                    UT 84112(801) 585-52024




4
  This daytime business address is provided for identification and correspondence purposes only
and is not intended to imply institutional endorsement by the University of Utah for this private
representation.
                                               16
     Case 1:15-cv-07433-LAP Document 1332-3 Filed 01/08/24 Page 21 of 21




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 7th day of March, 2017, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

of Notices of Electronic Filing generated by CM/ECF.

              Laura A. Menninger, Esq.
              Jeffrey Pagliuca, Esq.
              HADDON, MORGAN & FOREMAN, P.C.
              150 East 10th Avenue
              Denver, Colorado 80203
              Tel: (303) 831-7364
              Fax: (303) 832-2628
              Email: lmenninger@hmflaw.com
                      jpagliuca@hmflaw.com



                                                   /s/ Meredith Schultz
                                                   Meredith Schultz, Esq.




                                              17
